           Case 2:10-cr-00178-MCE Document 150 Filed 08/14/14 Page 1 of 2
PROB 35 (ED/CA)
                          Report and Order Terminating Probation
                             Prior to Original Expiration Date


                             UNITED STATES DISTRICT COURT
                                               FOR THE


                          EASTERN DISTRICT OF CALIFORNIA


     UNITED STATES OF AMERICA                     )
                                                  )       Docket No.: 2:10CR00178-04
                        v.                        )
                                                  )
                  Frederick Davis                 )
                                                  )
                                                  )


On August 30, 2012, the above-named was placed on Probation for a period of 3 years.

The probationer has complied with the rules and regulations of Probation and is no longer in
need of supervision. It is accordingly recommended that the probationer be discharged from
supervision.


                                        Respectfully submitted,

                                           /s/ Kris M. Miura

                                          KRIS M. MIURA
                                    United States Probation Officer

Dated:       July 18, 2014
             Elk Grove, California
             KMM/sda


                           /s/ Jack C. Roberson
REVIEWED BY:              JACK C. ROBERSON
                          Supervising United States Probation Officer




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                                                                      EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)


Re:     Frederick Davis
        Docket No: 2:10CR00178-04
        Report and Order Terminating Probation
        Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Frederick Davis be discharged from Probation,
and that the proceedings in the case be terminated.

Dated: August 13, 2014




Attachment: Recommendation

cc:     AUSA – Russell Carlberg
        FLU Unit – United States Attorney’s Office
        Fiscal Clerk - Clerk's Office




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                                                                                              Rev. 02/2014
                                                                EARLY TERMINATION ~ ORDER (PROB35).DOTX
